Case 2:16-cv-13672-MAG-DRG ECF No. 125 filed 08/29/18                   PageID.1599       Page 1 of 8



                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION


 ESTATE OF RICHIE MAJORS,
 et al.,

               Plaintiffs,                            Case No. 16-cv-13672
                                                      Hon. Mark A. Goldsmith
 vs.

 ROGER A. GERLACH,
 et al.,

             Defendants.
 ____________________________/

                             OPINION & ORDER
               GRANTING DEFENDANT’S MOTION TO DISMISS (Dkt. 90)

        Plaintiff Re’Shane Lonzo, as the representative of the estate of Richie Majors, initiated this

 civil rights lawsuit on October 14, 2016 against twelve individual defendants. One Defendant, Dr.

 Susan Howard, moves to have the case against her dismissed due to Lonzo’s alleged failure to

 timely serve the summons and complaint. See Dkt. 90. For the following reasons, Dr. Howard’s

 motion is granted.

                                     I.      BACKGROUND

        Lonzo initiated this action on October 14, 2016, see Dkt. 1, and summonses were issued

 on October 17, 2016, see Dkt. 2. Lonzo apparently attempted to serve Dr. Howard at the Michigan

 Department of Corrections, but on November 28, 2016, the Michigan Department of Corrections

 returned the summons, stating that it was unable to accept service on behalf of Dr. Howard. See

 Dkt. 7. There is no indication that Lonzo made any additional attempts to serve Dr. Howard before

 the summonses expired on January 16, 2017. Lonzo filed an amended complaint on March 21,




                                                  1
Case 2:16-cv-13672-MAG-DRG ECF No. 125 filed 08/29/18                       PageID.1600      Page 2 of 8



 2017, see Dkt. 24, but never sought to extend the original summonses or have new summonses

 issued.

           On February 28, 2018, Lonzo successfully sent Dr. Howard the waiver of service at her

 personal residence. On April 10, 2018, Dr. Howard, through her counsel, executed the waiver of

 service. See Ex. 1 to Pl. Resp. (Dkt. 103-1). Dr. Howard’s counsel returned the executed waiver

 to Lonzo’s counsel on April 16, 2018. Lonzo filed the waiver of service on the docket on April

 23, 2018. See Dkt. 86.

           Dr. Howard then filed the instant motion to dismiss, arguing that dismissal is warranted

 because (1) Lonzo failed to serve her within the time required by Federal Rule of Civil Procedure

 4(m); (2) Lonzo has failed to prosecute the action against Dr. Howard, entitling her to dismissal

 under Federal Rule of Civil Procedure 41(b) and this District’s Local Rule 41.2; and (3) the

 statute of limitations has expired, barring Lonzo’s claims. See Def. Mot. at ii, PageID.864.

                                           II.     ANALYSIS

           A. Dismissal pursuant to Federal Rule of Civil Procedure 4

           Dr. Howard argues that dismissal is warranted pursuant to Federal Rule of Civil Procedure

 4(m), which provides in relevant part:

                  If a defendant is not served within 90 days after the complaint is
                  filed, the court – on motion or on its own after notice to the plaintiff
                  – must dismiss the action without prejudice against that defendant
                  or order that service be made within a specified time. But if the
                  plaintiff shows good cause for the failure, the court must extend the
                  time for service for an appropriate period.

           There is no dispute that Dr. Howard was not served within ninety days after the complaint

 was filed. Lonzo does not argue that there exists good cause for her failure to serve the complaint

 within the required time frame. Instead, she argues that regardless of the absence of good cause,




                                                     2
Case 2:16-cv-13672-MAG-DRG ECF No. 125 filed 08/29/18                                  PageID.1601      Page 3 of 8



 the Court still has discretion as to whether to dismiss the complaint or to allow service to be

 perfected within a specified time. Pl. Resp. at 3-4, PageID.1089-1090 (Dkt. 103).

               Lonzo points to Slenzka v. Landstar Ranger, Inc., 204 F.R.D. 322, 326 (E.D. Mich. 2001),

 where the court examined five factors to determine whether an exercise of its discretion to extend

 the period for service was appropriate:

                              whether (1) a significant extension of time was required; (2) an
                              extension of time would prejudice the defendant other than the
                              inherent “prejudice” in having to defend the suit; (3) the defendant
                              had actual notice of the lawsuit; (4) a dismissal without prejudice
                              would substantially prejudice the plaintiff; i.e., would his lawsuit be
                              time-barred; and (5) the plaintiff had made any good faith efforts at
                              effecting proper service of process.

               The Court finds that Lonzo has not shown good cause for her failure to serve Dr. Howard

 within the ninety-day period allowed, nor has she shown that the Court should exercise its

 discretion to extend the period for service. The factors provided in Slenzka weigh against

 permitting any extension.

               First, a significant extension of time would be required. There has been a lapse of 462 days

 between the day the summons expired (January 16, 2017) and the day that Lonzo filed the executed

 waiver of service on the docket (April 23, 2018).1 The Slenzka court found that this factor weighed

 against the plaintiff where nearly 120 days had passed following expiration of a summons. 204

 F.R.D. at 326.

               Lonzo argues that no extension of time is required, since Dr. Howard has actual notice of

 the suit and waived service of summons. Pl. Resp. at 5, PageID.1091. She points out that the

 waiver itself states that the signor “waive[s] any objections to the absence of a summons or of


                                                             
 1
   Federal Rule 4(d)(4) “deems service to have occurred at the time the waiver is filed, not when
 the complaint and request for waiver is received.“ Charles Alan Wright, et al., 4B Fed. Prac. &
 Proc. Civ. § 1137 (4th ed.).
                                                                3
Case 2:16-cv-13672-MAG-DRG ECF No. 125 filed 08/29/18                    PageID.1602       Page 4 of 8



 service.” Ex. 1 to Pl. Resp. (Dkt. 103-1). But Dr. Howard convincingly responds that “‘[t]he only

 issues that are eliminated by the waiver are those involving sufficiency of the summons or

 sufficiency of the method by which the summons is served’; the waiver does not preclude a

 challenge under Rule 4(m).” Patel v. Dameron Hosp., No. 99-1275, 2000 WL 35619441, at *2

 (E.D. Cal. June 23, 2000) (quoting Schwarzer, Tashima & Wagstaffe, Federal Civil Procedure

 Before Trial (TRG 1999), § 5:157, pp. 5-31); see also United States v. Coldwell Banker Bullard

 Realty Co., No. 08-3427, 2009 WL 10664944, at *4 (N.D. Ga. July 22, 2009) (rejecting plaintiff’s

 argument that defendant’s act of waiving service of process also waived his ability to argue that

 the timeliness of service was insufficient, and noting that “the limited federal case law construing

 Fed. R. Civ. P. 4(d)(4) with Fed. R. Civ. P. 4(m) suggests that plaintiffs have an obligation to seek

 waivers of service of process in a timely manner”). The Court concludes that Dr. Howard’s waiver

 of service did not waive the requirement that Lonzo complete service within ninety days, and the

 Court would therefore need to extend the deadline by 462 days.

        Three of the remaining four factors also weigh against extending the time period for

 service. This case has progressed far beyond its early stages – fact discovery closed on March 30,

 2018, and the parties’ dispositive motions are due at the end of this month. See 9/28/2017 Case

 Management & Sched. Order (Dkt. 66). To require Dr. Howard to participate in the litigation at

 this advanced stage would result in severe prejudice. Lonzo argues that she has asked the Court

 to extend the discovery period, but the Court has denied that motion by separate order today. As

 to the third factor, there is no indication that Dr. Howard had actual notice of this lawsuit prior to

 receiving the waiver of service in February 2018. The final factor, whether the plaintiff has made

 any good faith efforts to effectuate service of process, also weighs against Lonzo. Lonzo did

 attempt to serve Dr. Howard in 2016, when she apparently mailed a waiver of service to the



                                                   4
Case 2:16-cv-13672-MAG-DRG ECF No. 125 filed 08/29/18                         PageID.1603       Page 5 of 8



 Michigan Department of Corrections. But the unexecuted waiver of service was docketed on

 November 28, 2016, and there is no indication that Lonzo made any additional efforts to serve Dr.

 Howard until February of 2018.

               The sole factor in Lonzo’s favor is the prejudice that would result were the Court to refuse

 to extend the time for her to serve Dr. Howard. Although Rule 4(m) requires dismissal to be

 without prejudice, such dismissal would likely amount to dismissal with prejudice, as the statute

 of limitations may have run on Lonzo’s claims.2 Nonetheless, the Court believes that dismissal is

 warranted. Lonzo’s failure to serve Dr. Howard is no one’s fault but her own. She offers no

 explanation as to why she did not serve Dr. Howard at her personal residence at any point between

 November 2016 and February 2018. Nor does she explain her failure to ask the Court for an

 extension of the summons prior to its expiration, or to ask for a new summons to issue. The failure

 to serve Dr. Howard appears to be attributable only to a lack of diligence by Lonzo.

               As such, the Court will dismiss the action against Dr. Howard without prejudice pursuant

 to Federal Rule of Civil Procedure 4(m).

               B. Dismissal for Failure to Prosecute

               Dr. Howard asks in the alternative for dismissal for a failure to prosecute pursuant to

 Federal Rule of Civil Procedure 41(b), which “operates as an adjudication on the merits,” and this

 District’s Local Rule 41.2. “The dismissal of ‘a claim for failure to prosecute is a harsh sanction

 which the court should order only in extreme situations showing a clear record of contumacious

 conduct by the plaintiff.’” Wu v. T.W. Wang, Inc., 420 F.3d 641, 643 (6th Cir. 2005) (quoting



                                                             
 2
  Dr. Howard argues in both her original and reply briefs that the statute of limitations has expired.
 Lonzo does not address this issue in-depth in her response brief, but does concede that she “would
 experience substantial prejudice because the lawsuit against Defendant Howard may be time-
 barred.” Pl. Resp. at 5, PageID.1091 (Dkt. 103).
                                                                5
Case 2:16-cv-13672-MAG-DRG ECF No. 125 filed 08/29/18                     PageID.1604       Page 6 of 8



 Stough v. Mayville Cmty. Schs., 138 F.3d 612, 614-615 (6th Cir. 1998)). The court considers four

 factors in deciding whether to dismiss pursuant to Rule 41(b):

                (1) whether the party’s failure is due to willfulness, bad faith, or
                fault; (2) whether the adversary was prejudiced by the dismissed
                party’s conduct; (3) whether the dismissed party was warned that
                failure to cooperate could lead to dismissal; and (4) whether less
                drastic sanctions were imposed or considered before dismissal was
                ordered.

 Knoll v. Am. Tel. & Tel. Co., 176 F.3d 359, 363 (6th Cir. 1999). As the Court is unconvinced that

 these factors weigh in favor of dismissal, it declines to dismiss the case against Dr. Howard

 pursuant to Federal Rule 41(b).

        As to the first factor, the Sixth Circuit explained that “willfulness, bad faith, or fault”

 requires “either an intent to thwart judicial proceedings or a reckless disregard for the effect of his

 conduct on those proceedings.” Prime Finish, LLC v. ITW Deltar IPAC, 608 F. App’x 310, 314

 (6th Cir. 2015) (quoting Schafer v. City of Defiance Police Dep’t, 529 F.3d 731, 737 (6th Cir.

 2008)). It is a close question as to whether this standard is met here. While the failure to serve a

 defendant for over a year is certainly careless – and perhaps even shows a disregard for the effect

 of such failure on the Court, Dr. Howard, and the other Defendants in this case – there is no

 indication that Lonzo intended to thwart the judicial proceedings. The failure to serve seems

 attributable, at most, to simple negligence.

        The second factor is clearly met; as discussed above, Dr. Howard is prejudiced by the

 failure to effect timely service. Lonzo was not warned that failure to serve would result in

 dismissal, although “at the minimum, attorneys should be charged with knowledge of the Federal

 Rules of Civil Procedure,” Pinion v. Dow Chemical, U.S.A., 928 F.2d 1522, 1533 n.11 (11th Cir.

 1991), particularly the time limits regarding service. As to the final factor, Dr. Howard argues that




                                                   6
Case 2:16-cv-13672-MAG-DRG ECF No. 125 filed 08/29/18                   PageID.1605       Page 7 of 8



 there is no lesser sanction that fits the circumstances of the case. While the Court agrees that

 dismissal is the only correct result, dismissal without prejudice is more appropriate.

        Accordingly, the Court declines to dismiss the action pursuant to Rule 41(b).

        C. Statute of Limitations

        Finally, Dr. Howard argues that the statute of limitations has expired on Lonzo’s claims.

 She contends that the statute of limitations is three years and thirty days, and that the filing of

 Lonzo’s complaint only tolled the statute of limitations for ninety days; that is, until the summons

 expired. Def. Mot. at 5, PageID.872. Thus, the statute of limitations began to run anew after the

 summons expired on January 16, 2017, and there is “no conceivable calculation of the statute of

 limitations” where it has not expired at this time. Id. at 6, PageID.873.

        Assuming that Dr. Howard is correct regarding the law, she does not adequately explain

 how the allegations in the complaint establish when the statute of limitations began to run. In her

 reply brief, she points to paragraph 34 of the amended complaint to argue that the statute began

 running on September 5, 2014. See Def. Reply at 5, PageID.1104 (Dkt. 105). But this paragraph

 in the complaint states only that “[b]y September 2014, Mr. Majors required a wheelchair with an

 attendant . . . and not one of his treating physicians sought to independently confirm his multiple

 sclerosis diagnosis.” Am. Compl. ¶ 34 (Dkt. 24). Dr. Howard does not explain how the Court can

 conclude that the statute of limitations began running on September 5, 2014, such that it has now

 expired. It is not this Court’s job to fashion an argument for a party who has not made her argument

 clearly. See Boynton v. Headwaters, Inc., 737 F. Supp. 2d 925, 930 (W.D. Tenn. 2010) (“It is not

 [a court’s] job, especially in a counseled civil case, to create arguments for someone who has not

 made them . . . .”) (quoting Yeomalakis v. FDIC, 562 F.3d 56, 61 (1st Cir. 2009)). Accordingly,

 the Court declines to grant Dr. Howard’s requested relief on this basis.



                                                  7
Case 2:16-cv-13672-MAG-DRG ECF No. 125 filed 08/29/18                  PageID.1606       Page 8 of 8



                                      III.   CONCLUSION

        For the foregoing reasons, Defendant Dr. Susan Howard’s motion to dismiss (Dkt. 90) is

 granted by dismissing claims against her without prejudice.

        SO ORDERED.

 Dated: August 29, 2018                               s/Mark A. Goldsmith
        Detroit, Michigan                             MARK A. GOLDSMITH
                                                      United States District Judge


                                 CERTIFICATE OF SERVICE

 The undersigned certifies that the foregoing document was served upon counsel of record and any
 unrepresented parties via the Court's ECF System to their respective email or First Class U.S. mail
 addresses disclosed on the Notice of Electronic Filing on August 29, 2018.

                                                      s/Karri Sandusky
                                                              Case Manager




                                                 8
